     Case 3:25-cv-00885-JLS-BLM    Document 29          Filed 06/18/25   PageID.1463   Page 1
                                           of 1


 1
 2
 3
 4
 5
 6
 7                            UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10    KLARA GIANNA GALLUSZ,                              Case No.: 25-CV-885 JLS (BLM)
11                                     Plaintiff,
                                                         ORDER VACATING HEARING ON
12    v.                                                 MOTION TO DISMISS
13    LPP MORTGAGE, INC. f/k/a LPP
                                                         (ECF No. 15)
      MORTGAGE LTD,
14
                                     Defendant.
15
16
17          Presently before the Court is Defendant LPP Mortgage, Inc.’s Motion to Dismiss
18    (“Mot.,” ECF No. 15). Plaintiff Klara Gianna Gallusz has filed an Opposition, see ECF
19    No. 19, to which Defendant filed a Reply, see ECF No. 28. Pursuant to Civil Local Rule
20    7.1(d)(1), the Court finds this matter appropriately decided on the papers without oral
21    argument; accordingly, the Court VACATES the June 26, 2025 hearing and takes the
22    Motion under submission.
23          IT IS SO ORDERED.
24    Dated: June 18, 2025
25
26
27
28

                                                    1
                                                                                  25-CV-885 JLS (BLM)
